921 F.2d 277
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.James E. RAY, Plaintiff-Appellant,v.Honorable Ned Ray MCWHERTER, et al., Defendants-Appellees.
    No. 90-5190.
    United States Court of Appeals, Sixth Circuit.
    Dec. 19, 1990.
    
      Before NATHANIEL R. JONES, RYAN and BOGGS, Circuit Judges.
    
    ORDER
    
      1
      The court having received a petition for rehearing en banc, and the petition having been circulated not only to the original panel members but also to all other active judges of this court, and no judge of this court having requested a vote on the suggestion for rehearing en banc, the petition for rehearing has been referred to the original hearing panel.
    
    
      2
      The panel has further reviewed the petition for rehearing and concludes that the issues raised in the petition were fully considered upon the original submission and decision of the case.  Accordingly, the petition is denied.
    
    